    Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 1 of 30




                        HHS Public Access
                        Author manuscript
                        Early ChildRes Q. Author manuscript; available in PMC 2016 April 22.
           Published in final edited fonn as:
            Early ChildRcs Q. 2014 January 1; 29(1): 64—75. doi:10.10l6/j.ecresq.2013.09.006.



            Preschool selection considerations and experiences of school
-           mistreatment among lesbian, gay, and heterosexual adoptive
            parents
           Abbie E. Go!dberga,* and JuliAnna Z. Smithb
           aDepartmeflt of Psychology, 950 Main St., Worcester, MA 01610, USA
           bCenter for Research on Families, University of Massachusetts, Amherst, MA 01003, USA

           Abstract
                The current study is the first to investigate the school selection considerations and school-related
                experiences of sexual-minority parents with young children. The sample consisted of2IO parents
                in 105 couples, including 35 lesbian couples, 30 gay male couples, and 40 heterosexual couples,
                all of whom had adopted a child three years earlier. We found that parents with less income were
                more likely to consider cost in choosing a preschool, and parents with less education were more
                likely to consider location. More educated parents tended to emphasize racial diversity and the
                presence of adoptive families, and, among sexual-minority parents, the presence of other
                lesbianlgay parents. Sexual-minority parents were more likely to consider racial diversity than
                heterosexual parents. In reporting on their experiences with schools, heterosexual parents were
                more likely to perceive mistreatment due to their adoptive status than sexual-minority parents, and
                sexual-minority parents living in less gay-friendly comirninities were more likely to perceive
                mistreatment due to their sexual orientation than sexual-minority parents living in more gay
                friendly communities. Our findings have implications for early childhood educators and
                administrators seeking to create an inclusive learning community for all types of families.



           Keywords
                Adoption; Early childhood; Gay; Lesbian; Preschool; School


           1. Introduction
                             Despite advances in securing equal rights for sexual minorities and their families, sexual
                             minority (i.e., lesbian, gay, and bisexual; LGB) parents and their children encounter explicit
                             and implicit forms of marginalization, exclusion, and stigma embedded in various societal
                             institutions, such as the legal system and the schools (Byard, Kosciw, & Bartkiewicz, 2013;
                             Goldberg, 2010). Within the school context, sexual-minority parent families may encounter
                             teachers, school staff and other parents who possess ambivalent or unsupportive attitudes
                             toward families like their own (Gartrelt et at., 2000). Such attitudes may manifest in either
                             lack of acknowledgment or explicit stigmatization of children with sexual-minority parents.


           ‘Corresponding author. Tel.: --l 508 793 7289. agoldbergficlarku.edsi (A.E.
      Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 2 of 30




           Goldberg and Smith                                                                                            Page 2


                                On a more subtle level, marginalization of these families may be embedded in the
                                curriculum (e.g., by focusing entirely on the experiences of heterosexual people and
                                families) and school paperwork (e.g., by failing to allow for representation of diverse family
                                forms; Byard et al., 2013). Sexual-minority parent families who are “different” in additional
                                ways, beyond parents’ sexual orientation, may also be vulnerable to bias and exclusion in
                                school settings. Many sexual-minority parent families are adoptive and/or nmltiracial (Gates,
                                Badgett, Macomber, & Chambers, 2007), introducing other dimensions of difference that
                                may meet challenges in the school setting.

                                Little research has examined sexual-minority parents’ experiences in school settings. The
                                little research that exists has focused primarily on their experiences in elementary school
                                settings (Kosciw & Diaz, 2008), as opposed to their experiences in early childhood settings,
                                where they may have more contact with teachers and staff (Beveridge, 2005), and thus may
                                be more attuned to insensitivities directed at them and/or their child(ren). Indeed, we know
                                little about the family—school interface of sexual-minority parent families with young
                                children, including their school selection process and potential experiences of exclusion and
                                mistreatment within their children’s schools. Likewise, we know little about the school
                                experiences of sexual-minority parents who have adopted their children, and how such
                                experiences may be shaped by adoption- or race-related factors. The current exploratory
                                study examines the experiences of lesbian, gay, and heterosexual adoptive parents of
                                preschool-age children with respect to their (a) school-related selection considerations; and
                                (b) perceived experiences of mistreatment at school.

              1.1. School decision-making and selection in parents of preschool-age children
                                Research on the school-related concerns of sexual-minority parents of school-age children
                                suggests that parents are often aware of the potential for homophobic bullying at school
C
                                (Gartrell et al., 2000). Several studies ftirther suggest that some sexual-minority parents
                                                                        .




                                purposefully seek out progressive and diverse schools and communities in an effort to
                                decrease the stigma to which their children are exposed (Casper & Schultz, 1999; Kosciw &
                                Diaz, 2008; Mercier & 1-larold, 2003). Such efforts may be particularly pronounced among
                                sexual-minority parents of children of color (Kosciw & Diaz, 2008). Parents who adopt
                                children of color face the possibility that their children might be mistreated (i.e., confront
                                stereotypes and ignorance) on the basis of their race; in turn, White sexual-minority parents
                                of children of color recognize that their children might be mistreated on the basis of both
                                their race and family stnicture (Goldberg, 2009). White parents who adopt children of color
                                also confront the possibility that the multiracial makeup of their families the fact that
                                                                                                          —




                                children look “different” from them may render their children vulnerable to intrusive
                                                                            —




                                questions about adoption (e.g., “where are you from?”; “who are your ‘real’ parents?”;
S.
:5-
                                Vaschenko, D’Aleo, & Pinderhughes, 2012).

                                Parents of preschool-age children play a greater role in selecting their children’s school
                                environments than parents of school-age children. Whereas most children in elementary
                                school attend their local public schools, most children in preschool attend private programs,
                                although some public programs (which are funded by the city and/or state) are available
                                (Magnuson & Waldfogel, 2005). In turn, parents especially middle-class parents
                                                                                        —                           —




                                   Early GhildRes Q. Author manuseripi; available in PMC 2016 April 22.
     Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 3 of 30




          Goldberg and Smith                                                                                              Page 3


                               typically play an active role in selecting preschool or day-care programs for their children
                               (Cryer, Tietze, & Wessels, 2002). Research on heterosexual parents’ school selection process
                               has found that parents tend to consider a range of factors in choosing schools and daycares
                               for their young children, with frequently mentioned concerns including logistical/practical
                               factors (e.g., cost, location), school quality considerations (e.g., the school curriculum or
                               philosophy), and, more rarely, value-related considerations (i.e., the degree to which parents’
                               values match the schools’ values) (Galotti & Tinkelenberg, 2009; Glenn-Applegate,
                               Pentimonti, & Justice, 2011). Working-class parents may be more likely to emphasize
                               practical concerns such as cost and location in their selection process than middle-class
                               parents, in part because of differing constraints on their choices (e.g., in terms of money,
                               transportation, and time; Smrekar & Goldring, 1999); but also because of differing views of
                               education (e.g., middle-class parents may be more likely to view education as a “calculated
                               decision that matches the values and attributes of the family.., and child.., to the best-fitting
                               school”; Goyette, 2008, p. 117; Wells & Cram, 1997). Likewise, middle-class parents may
                               be more likely to emphasize school quality in their selection process (Peyton, Jacobs,
                               O’Brien, & Roy, 2001), perhaps in part because, as Lamer and Phillips (1994) note, parents
                               with more education tend to view the role of early childhood education as a key context for
                               learning and preparing for grade school, and as a starting point for children’s long-term
                               educational success.

                               No known research has focused on whether and to what extent the above school selection
                               considerations are endorsed by sexual-minority parents of young children. It is expected
                               that, like parents of children with special needs (Glenn-Applegate et al., 2011) and parents
                               of bilingual children (McClain, 2010), sexual-minority parents as well as adoptive parents
                               — may consider additional issues related to the inclusiveness of the school community.
                               Understanding what factors sexual-minority parents consider in selecting early educational
                               environments for their children is important, as it will provide cnicial insight into the school
C                              related concerns and values of sexual-minority parents, and can inform teaching and practice
                               in early childhood education. Furthermore, knowledge of sexual-minority parents’ school
                               related considerations is of interest in that they may foreshadow what types of early
                               childhood environments their children ultimately inhabit. Such knowledge is important,
                               given that the early childhood educational environment impacts children’s social, emotional,
                               and cognitive development (Burger, 2010).

             1.2. Sexual-minority parents’ school selection
                               Research on school selection among sexual-minority parents with elementary school-age
                               children can lend some insight into the school selection considerations of sexual-minority
                               parents of preschoolers. Key data on this topic come from the Gay, Lesbian, and Straight
                               Education Network (GLSEN)’s 2008 survey of 588 LGBT parents, most of whom were
                               women and had a child in elementary school (Kosciw & Diaz, 2008). Although most parents
                               reported that their children attended public schools (78%), this percentage was significantly
2)
                               lower than the national percentage (89 /o). Of the parents who sent their children to private
                                                    .                                                     .   .




                               schools, these schools were less likely to be religiously-affiliated schools (7%) and more
                               likely to be independent schools (16%) than national percentages. Regarding LGBT parents’
—                              reasons for selecting their children’s schools, parents most often reported that they chose the


                                   Early ChildRes Q. Author manuscript; available in PMC 2016 April 22.
      Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 4 of 30




           Goldberg and Smith                                                                                              Page 4


                                local or neighborhood school (59%) and that they chose the school based on academic
                                reputation (54%). Other common reasons cited were the diversity of the school population
                                (3 1%), the school’s reputation for valuing diversity (22%), they knew other families at the
                                school (29%), the sports/arts/music reputation of the school (29%), they knew that there
                                were other children with LGBT parents there (17%), the school’s reputation for being
                                welcoming of LGBT families (17%), the academic approach (e.g., Montessori) (13%),
                                special education services (12%), and language programs (10%). Parents of children of color
                                were more likely to choose schools based on the diversity of the school population (43%)
                                than were parents with a White student (25%), regardless of the race/ethnicity of the parents
                                (about 16% of the families represented had White parent(s) and a child of color, and 14% of
                                the families represented were comprised of one White and one non-White parent; Kosciw &
                                Diaz, 2008).

                                In addition to the GLSEN survey, several qualitative studies have examined the school
                                related experiences of lesbian parents; indeed, research on gay fathers’ school-related
                                experiences is particularly sparse. Mercier and Harold (2003) interviewed 15 lesbian-parent
                                families with children ranging from six months to 18 years. Similar to the GLSEN sample,
                                the parents in this study often emphasized the importance of sending their children to
                                schools that valued diversity, because they believed that “schools that value diversity of any
                                type are lucre likely to respond well to lesbian-parent families” (p. 39). Consistent with this,
                                Gartrell et al. (1999) interviewed 84 lesbian-parent families with toddlers about their plans
                                for child care or preschool and found that 87% of mothers said that they planned to enroll
                                their children in programs that included children and teachers of different social classes,
                                genders, races, ethnicities, and cultures, out of a belief that “exposure to diversity was the
                                most effective method of fortifying their children against homo-phobia” (p. 367). When the
                                children in the study were five, 74% of the children’s schools were described as
                                multicultural and 33% had lesbian/gay staff members; by extension, under one-fifth (18%)
o                               of children had reportedly experienced homophobia from peers or teachers (Gartrell et al.,
                                2000). Of note is that Gartrell et al. sample was drawn from metropolitan areas (e.g., San
                                Francisco), which may have facilitated access to multicultural, gay-friendly school
C
                                environments.
C-)

                                Finally, a qualitative study of 20 lesbian-parent families in Australia found that parents who
                                could afford to send their children to private school often did so, in part because they seemed
                                to believe that these schools would be more likely to accept and be inclusive of their families
                                (Lindsay et al., 2006). Thus, in sum, the existing research suggests that lesbian mothers
                                value diversity, broadly defined, as well as racial diversity, specifically (Kosciw & Diaz,
                                2008).
>
              1.3. Experiences of mistreatment in early childhood settings
                                The early parent—school relationship is important, in that it can have positive implications
                                for child development, and also lays the foundation for future parent involvement and school
                                connection (Beveridge, 2005). In addition to playing an active role in the selection of
                                preschools, parents of young children may also actively interact with their children’s
                                schools. Unlike parents of school-age children, parents of preschool-age children are usually



                                   Early ChildRes Q. Author manuscript; available in PMC 2016 April 22.
     Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 5 of 30




          Goldberg and Smith                                                                                             Page 5


                               in direct contact with the teachers and staff who are caring for their children, providing
                               information about their children’s personality and developmental stage, as well as
                               recommendations about how best to support their children’s growth (Beveridge, 2005;
                               Rimm-Kaufman & Pianta, 2005). Parents of young children also often seek out more
                               information from schools about what their children are learning, since their children may
                               lack the cognitive or verbal skills to explain these details to them (Glover & Bnining, 1987)
                               — although parents with more resources tend to have more communication with teachers
                               (Bryant, Peisner-Feinberg, & Miller-Johnson, 2000; Lareau, 1987). Parents of young
                               children may also inquire about their children’s social experiences at school; although
                               negative peer behavior is less of a concern in early childhood settings than elementary
                               school (Sawyer, Mishna, Pepler, & Wiener, 2011), teasing in these settings does occur
                               (Kirves & Sajanierni, 2012).

                               The early interactions between sexual-minority parents and early educational environments
                               are of great significance, insoimich as these experiences can set the stage for parents’
                               expectations about and involvement in their children’s school lives more generally (Casper
                               & Schultz, 1999), and, in turn, parent school involvement is related to child developmental
                               outcomes, such that children with highly involved parents demonstrate greater social and
ci                             cognitive skills, and fewer behavioral problems (Powell, Son, File, & San Juan, 2010).
                               Perceived experiences of marginalization or mistreatment in early childhood settings, then,
                               are particularly important to attend to, as they may have profound implications for sexual-
                               minority parents’ school connectedness and involvement (Kosciw & Diaz, 2008). Some
                               research has examined sexual-minority parents’ perceptions of exclusion and mistreatment
                               in elementary school settings. More than half (53%) of the LGBT parents in the GLSEN
                               survey described various forns of exclusion related to their sexual orientation from their
                               children’s school communities (Kosciw & Diaz, 2008). For example, parents were told that
                               they could not be aids in their children’s classrooms; that only one parent was allowed to
C                              attend a school event; and that their offers to assist with creating a more inclusive classroom
                               were not welcome or needed. Further, 26% of LGBT parents reported being mistreated by
                               other parents (e.g., being stared at or ignored). Not surprisingly, parents who reported higher
                               levels of exclusion and mistreatment were less likely to be involved in volunteering at their
                               children’s schools (Kosciw & Diaz, 2008).
-D

                               There is some evidence that sexual-minority parents with greater educational, financial, and
                               geographic resources may perceive less exclusion in their children’s schools. Casper and
                               Schultz (1999) interviewed 17 lesbian and gay parents with children in preschool to 5th
                               grade and found that parents who were middle-class, living in urban or “progressive” areas,
                               and/or sent their children to private schools, reported more ease in being “out” and
                               advocating for their children than parents with limited financial or geographic resources. In a
                               rare study of working-class lesbian mothers, Nixon (2011) found that participants often felt
                               like outsiders at their children’s schools due to both their socioeconomic status (and,
                               specifically, their own poor school histories) and also their sexual orientation. In turn, very
                               few mothers discussed their concerns about bullying directly with their children’s teachers,
                               choosing instead to try to prepare their children to avoid, and if necessary cope with,
                               bullying.



                                   Early ChthlRes Q. Author manuscript; available in PMC 2016 April 22.
     Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 6 of 30




          Goldberg and Smith                                                                                               Page 6


             1.4. Adoptive parents’ experiences in school settings
                               Many sexual-minority parents adopt their children (Gates et al., 2007), creating additional
                               dimensions of difference that they may consider in choosing school environments for their
                               children. Of note is that a range of practical resources are available for adoptive parents of
                               young children (e.g., that provide guidance on how to talk to teachers about their children’s
                               adoptive status as well as how to educate teachers about adoption in general; Child Welfare
                               Information Gateway, 2012; Gilmore & Bell, 2006). However, little empirical work has
                               examined adoptive parents’ considerations in selecting schools for their children, or
                               navigating and responding to adoption bias (e.g., the use of adoption-insensitive language by
                               teachers and/or in curricula). The absence of this work is concerning, given that
                               misinformation and stigma related to adoption particularly transracial adoption are still
                                                                                     —                              —




                               pervasive in the broader society (Goldberg, Kinkler, & Hines, 2011) and may trickle down
                               into the attitudes and practices of teachers and other school personnel. Teachers may fail to
                               understand or attend to the multiple dimensions of difference that may impinge upon the
                               identity or experiences of adopted children (Enge, 1999). They may also neglect to discuss
                               racial or family diversity in the classroom, perhaps because they believe that young children
                               are too young to understand these issues (Husband, 2012; Robinson & Ferfolja, 2002),
                               despite evidence to the contrary (Park, 2011).
C)
                               Few studies have assessed adoptive parents’ experiences related to their children’s school
                               environments. In a study of racial socialization practices among heterosexual parents who
                               had adopted transracially, Vonk, Lee, and Crolley-Simic (2010) found that 54% of parents
                               reported that they had chosen child care providers, teachers, or other role models similar to
                               their children’s race or ethnicity. Other studies (Goldberg, 2009; Mercier & Harold, 2003)
                               have also observed that White parents who adopt transracially sometimes describe efforts to
                               move to an area that is racially diverse, so that their children will grow up around, and attend
                               schools with, other people who look like them. These studies suggest that for parents who
                               adopt a child of a different race, the racial diversity of teachers and schools may take on
                               heightened importance.

                               Speaking to issues of inclusion versus exclusion in schools, Nowak-Fabrykowski, J-Ielinski,
                               and Buchstein (2009) surveyed 23 heterosexual foster parents and found that most
                               respondents reported their children’s teachers and classrooms did not have any materials
                               related to adoption, and felt that teachers should make more of an effort to assign lessons
                               about adoption (e.g., during Adoption Month). Thus, respondents demonstrated a general
                               sense that schools could be doing more than they were to incorporate the experiences and
                               needs of adopted individuals and their families into their materials and curricula.

                               The research discussed thus far is limited by the fact that it has rarely included parents of
                               young children, is primarily qualitative, and, when it includes sexual-minority parents, has
                               tended to focus on lesbian mothers, not gay fathers. Despite these limitations, it provides
                               insights into (a) the type of criteria that sexual-minority adoptive parents may value in
                               choosing schools for their children; and (b) the possibility for sexual-minority adoptive
                               parents to perceive mistreatment by their children’s schools. First, the literature suggests that
                               sexual-minority parents may be particularly likely to value school diversity (e.g., with regard
                               to family structure and race). Second, it suggests that sexual-minority parents may perceive

                                  Early ChildRes Q. Anthor manuscript; available in PMC 2016 April 22.
      Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 7 of 30




            Goldberg and Smith                                                                                               Page 7


                                 mistreatment at their children’s schools, although such experiences may be mitigated by
                                 sending one’s child to a private school (Kosciw & Diaz, 2008; Lindsay et al., 2006), and,
                                 indirectly, by the presence of financial and educational resources, as well as living in a
                                 “progressive” or gay-friendly area (Casper & Schultz, 1999).

               1.5. The current study
                                 This exploratoiy study examines a sample of2lO parents in 105 couples 35 lesbian two
                                 parent families, 30 gay two-parent families, and 35 heterosexual two-parent families all of
                                                                                                                         —




                                 whom had adopted a child three years earlier. Both partners in each couple were surveyed.
                                 At the time of assessment, children in the sample were between 3.0 and 5.5 years (M age =
                                 3.47) and enrolled in a preschool. Based on the literature, we proposed the following
                                 exploratory research questions.

               1.6. School selection considerations
C
                                 Research Question 1—Does the frequency by which parents consider school selection
                                 factors such as cost, location, educational philosophy, religionllanguage, racial diversity, and
                                 the presence of adoptive thmilies vary according to parent sexual orientation, child race,
                                 family income, and parent education level?
C-)
-                                We hypothesize that sexual-minority parents will be more likely to consider racial diversity
                                 and the presence of other adoptive families; parents of children of color will be more likely
                                 to consider racial diversity; and higher levels of financial/educational resources will be
                                 related to greater consideration of “quality” factors such as educational philosophy and
                                 religionllanguage offerings, greater consideration of diversity factors such as racial diversity
                                 and the presence of other adoptive families, and lesser consideration of “practical” factors
                                 such as cost and location.
C

                                 Research Question 2—Among sexual-minority parents, does the frequency by which
                                 parents consider the presence of other lesbianlgay-parent families and school gay
                                 friendliness vary by parent gender, child race, family income, or parent education level?

                                 These are exploratory questions, and we do not have hypotheses about the role of gender or
                                 race. We expect higher levels of financial/educational resources to be related to greater
                                 consideration of lesbianlgay-parent families and greater consideration of school gay-
                                 friendliness.

               1.7. Perceived experiences of mistreatment
                                 Research Question 3—Do parents’ perceptions of mistreatment related to adoptive
                                 status vary by parent sexual orientation, child race, family income, parent education level, or
0                                school type?

                                 We do not have hypotheses about the role of parent sexual orientation. We hypothesize that
                                 parents of children of color will perceive more mistreatment; parents with fewer financial/
                                 educational resources will perceive more mistreatment; and parents whose children attend
                                 public preschools will perceive more mistreatment.



                                    Early (hildRe.c Q. Author manuscript: available in PMC 2016 April 22.
      Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 8 of 30




           Goldberg and Smith                                                                                                Page 8


                                Research Question 4—Among sexual-minority parents, do parents’ perceptions of
                                mistreatment related to sexual orientation vary by parent gender, child race, the perceived
                                gay-friendliness of one’s community, family income, parent education, or school type?
-‘

                                We have no hypotheses about parent gender. We hypothesize that parents of children of
                                color will perceive more mistreatment; parents who live in less gay-friendly areas will
                                perceive more mistreatment; parents with fewer resources will perceive more mistreatment;
                                and parents whose children attend public preschools will perceive more mistreatment.


              2. Method
              2.1. Description of the sample
                                Data were taken from a longitudinal study of the transition to adoptive parenthood. All 105
                                couples had adopted their first child three years earlier, and in all cases it was a single child.
                                Respondents’ data were included in the current study if their adopted child was in preschool.
:5-
0
                                Descriptive data for the full sample, and by family type, appear in Table 1. ANOVA revealed
                                that the average family incomes for lesbian-, gay-, and heterosexual-parent families differed
C                               significantly, F(2,103) = 5.29, p = .006, such that gay male couples (M = S 193,572, Mdn =
                                S150,000, SD = S132,641) had a significantly higher annual combined income than lesbian
                                couples (M = Sl2l,268, Mdn = Sl05,000, SD = S64,795), p < .001, and heterosexual
                                couples (M = S138,377, Mdn = S 120,000, SD = S85,483), p = .0 12. The sample as a whole
                                is more affluent compared to national estimates for same-sex and heterosexual adoptive
                                families, which indicate that the average household incomes for same-sex couples and
                                heterosexual married couples with adopted children are S 102,474 and S8 1,900, respectively
                                (Gates et al., 2007). The sample as a whole was well-educated, M = 4.49 (SD = 1.01), where
                                4 = bachelor’s degree and 5 = master’s degree. Hierarchical linear modeling (HLM, in which
                                parents were nested within couples) revealed no differences in education level by family
                                type.

                                The adoptive parents in the sample were mostly White (9 1%), whereas the children in the
                                sample were disproportionately of color (i.e., non-White, including biracial children):
                                namely, 65% of couples adopted children of color. Fifty-two percent of couples adopted
                                boys, and 48% of couples adopted girls. Chi square analyses indicated that the distributions
                                of parent race, child race, and child gender did not significantly differ by family type.

                                The average age of the children in the sample was 3.47 years (SD = .99); ANOVA showed
                                that child age did not differ by family type. ANOVA revealed that the number of hours that
                                children spent in preschool differed by family type, F(2,l03) = 3.48, p = .034, such that the
                                children of gay male couples were in school for significantly more hours per week (M =
                                31.16, SD = 11.81) than the children of lesbian couples (M 25.07, SD = 12.48), p = .047,
                                and heterosexual couples (M = 23.82, SD = 12.05), p = .0 12. Somewhat paralleling these
                                data, MLM revealed that the number of hours parents worked per week differed by family
                                type, F(2,103) = 3.22, p = .044, such that gay male parents worked significantly more hours
                                than lesbian parents (M = 37.84, SE = 1.81, versus M 31.99, SE 1.64), p = .034, but not
                                heterosexual parents (M = 33.01, SE = 1.60).


                                   Early ChildRes Q. Author manuscript; available in PMC 2016 April 22.
      Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 9 of 30




            Goldberg and Smith                                                                                              Page 9


                                 The types of preschool environments that children were enrolled in varied. One quarter of
                                 the sample reported that their children attended public preschools (e.g., YMCA-based
                                 programs), and three quarters of the sample reported that their children attended private
                                 preschools. Within the latter group, 33% were described as private day care-based programs,
                                 20% were Montessori schools, 9% were religiously oriented or affiliated preschools (e.g.,
                                 Catholic, Christian, Lutheran), and the remainder were given a wide range of descriptors
                                 (e.g., Waldorf; French Immersion; country day school; university-based).

               2.2. Recruitment and procedures
                                 Inclusion criteria for the larger study from which this sample was drawn were: (a) couples
                                 must be adopting their first child: and (b) both partners must be becoming parents for the
                                 first time. Participants were originally recruited during the pre-adoptive period (i.e., while
                                 couples were waiting for a child placement). Adoption agencies throughout the US were
                                 asked to provide study information to clients who had not yet adopted, typically in the form
                                 of a brochure which invited them to participate in a study of the transition to adoptive
                                 parenthood. We explicitly invited both same-sex and heterosexual couples to participate,
                                 since a major goal of the study was to understand how same-sex couples, specifically,
                                 experienced the transition to adoptive parenthood. Toward this end, U.S. census data were
                                 utilized to identify states with a high percentage of same-sex couples (Gates & Ost, 2004)
                                 and effort was made to contact agencies in those states. We recruited both heterosexual and
                                 same-sex couples through these agencies, in an effort to match couples roughly on
                                 geographic status and financial resources. Over 30 agencies provided information to their
                                 clients, and interested couples were asked to contact the principal investigator for details.
                                 Because some same-sex couples may not be “out” to agencies about their sexual orientation,
                                 several national gay organizations also assisted in disseminating study information.
>
                                 Three years after they had been placed with a child, parents in the original study were
                                 contacted and asked to complete an in-depth questionnaire packet that focused on their
                                 experiences with regard to their children’s preschools. Questionnaires included closed- and
                                 open-ended items that addressed parents’ school-related values and experiences. Lesbian and
                                 gay parents that is, parents who had identified themselves as being in a same-sex
                                 relationship at the first assessment point were mailed questionnaires with several
                                 additional questionnaires and items aimed at identifying unique aspects of their experience
                                 as sexual-minority parents. The data for the current study are drawn from this three-year
                                 post-adoptive placement assessment point.

              2.3. Measures
                                 2.3.1. Outcomes
                                 2.3.1.1. School selection factors: Parents were presented with the question, “What factors
                                 did you consider in choosing a school?” and asked to circle all that apply: 1. Cost: 2.
                                 Educational philosophy; 3. Religion or language emphasized at school; 4. Racial diversity;
                                 5. Presence of other adoptive families; 6. Presence of other lesbian/gay-parent families; 7.
Cl)                                     .    .


0                                Gay-friendliness of school; 8. Other (please list). Items 6 and 7 were asked of sexual
                                 minorities only. In the “other” category, the only factor that was listed frequently enough to



                                    Early GhiidRes Q Author manuscript; available in PMC 2016 April 22.
    Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 10 of 30




          Goldberg and Smith                                                                                             Page 10


                               treat as an outcome was “Location.” Thus, we explore how family type and child race relate
                               to parents’ consideration of eight selection factors.

                               2.3.1.2. Mistreatment due to adoptive status: School mistreatment due to adoptive status
                               was assessed using an eight-item measure developed for this study. Prior research and
                               relevant popular press literature informed the development of this measure (Child Welfare
                               Information Gateway, 2012; Kosciw & Diaz, 2008). Further, it was reviewed by several
                               adoption scholars who provided feedback; several items were revised in response to their
                               feedback. The measure assesses exclusion and mistreatment by teachers, school personnel,
                               and other parents, related to the child’s adoptive status. Parents responded to these six items
                               using a I—5 scale (1 = not at all true, 5 = very true): 1. I have felt that my parenting skills
                               were questioned because I am an adoptive parent; 2. I have felt mistreated by school staff
                               because I am an adoptive parent; 3. I have felt that staff members/school personnel treat my
                               child differently because he/she is adopted; 4. My child’s teacher uses language that
                               acknowledges adoptive families (reverse scored); 5. My child’s teacher sensitively handles
                               assignments that could be hurtful to adoptive families (e.g., family trees) (reverse scored); 6.
                               My child’s school uses forms that allow families to identify themselves in the way that they
D                              choose (reverse scored). In addition, parents responded to the following two items using a
                               different 1—5 scale (I = not at all excluded, 5 = very excluded): 1. To what degree do you
                               feel excluded from your child’s school on the basis of your status as an adoptive family?; 2.
                               To what degree do you feel excluded by the parents of your children’s peers on the basis of
                               your status as an adoptive family? An exploratory factor analysis (EFA) using principal
                               components analysis (PCA) showed acceptable factor loadings from .41 to .64. A composite
                               score was created by taking the average across the individual items. Alpha = .71 for this
                               scale (.70 for lesbians, .68 for gay men, and .73 for heterosexual parents).
>
                               2.3.1.3. Mistreatment due to parental sexual orientation: School mistreatment due to
o                              sexual orientation was assessed using an eight-item measure developed for this study. Prior
                               work informed the development of this measure (Casper & Schultz, 1999; Kosciw & Diaz,
                               2008). The measure was reviewed by several scholars who studied sexual-minority parent
                               families, and several items were revised in response to their input. This measure assesses
                               exclusion and mistreatment by teachers, school personnel, and other parents, related to
                               parents’ sexual orientation, and was completed by lesbian and gay parents only. Parents
                               responded to the following six items using a 1—5 response scale (I not at all tnie, 5 = very
                               true): I. I have felt that my parenting skills were questioned because I am a lesbian/gay
                               parent; 2. 1 have felt mistreated by school staff because I am a lesbian/gay parent; 3. I have
                               felt that staff members/school personnel treat my child differently because his/her parents
                               are lesbian/gay; 4. My child’s teacher uses language that acknowledges lesbian/gay parent
                               families (reverse scored); 5. My child’s teacher sensitively handles assignments that could
                               be hurtful to lesbian/gay-parent famiilies (e.g., Mother’s Day/Father’s Day) (reverse scored);
                               6. My child’s school uses forms that allow families to identify themselves in the way that
                               they choose (reverse scored). Parents also responded to the following two items using 1—5
                               scale (1 = not at all excluded, 5 = very excluded): I. To what degree do you feel excluded
                               from your child’s school on the basis of your sexual orientation?; 2. To what degree do you
—                              feel excluded by the parents of your children’s peers on the basis of your sexual orientation?



                                  Early childRe.c Q. Author manuscript; available in PMC 2016 April 22.
    Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 11 of 30




          Goldberg and Smith                                                                                            Page 11


                               An EFA using PCA for extraction showed factor loadings from .36 to .63. The one item with
                               a loading lower than 40 was item 3, referring to treatment of the child. As the factor loading
                               was close to .40, and we wanted the two mistreatment scales to contain parallel items, all
                               items were retained for the analyses. A composite score was created by taking the average
                               across the individual items. Alpha .73 for the scale (.75 for lesbians, .70 for gay men).

                               2.3.2. Predictors
                               2.3.2.1. Sexual orientation: We examined differences by parent sexual orientation by
                               creating a dummy variable where 1 = heterosexual parent, and 0 = sexual-minority parent. In
                               follow-up analyses, we included two dummy variables (1 = gay male, 0 not gay/everyone
                               else), lesbian (1 lesbian, 0 = not lesbian/everyone else), which enabled us to detect
                               differences across all groups. By including the lesbian and gay male dummy variables (but
                               not heterosexual), we could test whether lesbian couples differed from heterosexual couples
                               and whether gay couples differed from heterosexual couples. By changing the default group
                               to include the gay male and heterosexual (but not lesbian) dummies, we could test for
                               differences between gay couples and lesbian couples.

                               2.3.2.2. Child race: Child race was dummy coded such that 1 = of color and 0 = White,
                               where “of color” includes biracial and multiracial children. We also considered other
                               codings of child race, namely: Black child (1) versus non-Black child (0); internationally
                               adopted from non—Anglo country (i.e., child with cultural and racial differences) (1) versus
                               others (0); and transracial (1) versus inracial (0) adoption, where “transracial” refers to
                               adoptions where the parent and child are of different races, and “inracial” refers to adoptions
                               where the parent and child are of the sanie race. We examined the effect of these other
                               codings of child race in follow-up analyses given the possibility that the salience and
                               meaning of race may vary depending upon how it is coded or operationalized.

                               2.3.2.3. Perceived community homophobia: We asked parents, “How gay-friendly is your
                               immediate community?” and provided these response options: 1 = extremely gay-friendly, 2
D                                 somewhat gay-friendly, 3 neutral, 4 = not very gay-friendly, and 5 = not at all gay
                               friendly. 1-Tigher scores indicate greater perceived homo-phobia/less gay-friendliness. We
                               included this as a predictor in our analyses predicting perceived mistreatment due to sexual
                               orientation given evidence that lesbian parents who perceive their communities as
                               progressive report more positive experiences with their children’s schools (Casper &
                               Schultz, 1999). Of note is that we also asked parents about their perceptions of
                               neighborhood gay-friendliness specifically (see Goldberg & Smith, 2011, for an examination
                               of the relationship between neighborhood gay-friendliness and parents’ mental health); thus,
                               respondents were explicitly prompted to consider the gay-friendliness of the broader
                               community in which they lived.

                               2.3.3. Controls
                               2.3.3.1. Family income: We used parents’ combined annual income as a control given its
                               association with parents’ school consideration criteria, whereby, for example, parents with
                               less income are more likely to consider cost, and less likely to consider school philosophy/
                               quality, in their selection process (Early & Burchinal, 2001; Leslie, Ettenson, & Cumnsille,


                                  Early ChlJdRe.c Q. Author manuscript; available in PMC 2016 April 22.
    Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 12 of 30




          Goldberg and Smith                                                                                             Page 12


                               2002); although some studies have not found associations between income and child care!
                               preschool considerations or values (Cryer & Burchinal, 1997).

                               2.3.3.2. Education: Parents’ education ranged from 1 to 6 where I less than high school
                               education, 2 = high school diploma, 3 = associate’s degree or some college, 4 = bachelor’s
                               degree, 5 = master’s degree, and 6 = Ph.D./M.D./JD. We included education as a control
                               given its association with some school selection criteria. For example, parents with less
                               education have been found to place more emphasis on cost (Leslie et al., 2002).

                               2.3.3.3. School type: Parents were asked to indicate whether their child attended a public or
                               private preschool. School type was dummy coded such that 1 = private school and 0 = public
                               school. We included school type as a control given that lesbian parents have been found to
                               expect less mistreatment in private schools than public schools (Lindsay et al., 2006).
>
                               2.3.3.4. Number of hours in school: Nuniber of hours in school was included as a control
                               in follow-up analyses examining school selection criteria and perceived mistreatment.

                               2.3.3.5. Child age: Child age, in months, was included as a control in follow-up analyses
                               examining school selection criteria and perceived school mistreatment.
0

                               2.3.3.6. Parent race: Parent race (1 = of color and 0 = White) was included as a control in
                               follow-up analyses examining school selection criteria and perceived school mistreatment.

            2.4. Analytic strategy: hierarchical linear modeling
                               2.4.1. Hierarchical linear modeling—As both parents in each couple reported on their
                               own school selection criteria and experiences, hierarchical linear modeling (HLM) was used
c                              to analyze the data. IILM permits examination of dyadic data (such as partners nested in
                               couples) and provides accurate standard errors for testing the regression coefficients relating
                               predictors to outcome scores (Kenny, Kashy, & Cook, 2006; Smith, Sayer, & Goldberg,
                               2013). The variance in the outcome is partitioned into the variance that occurs within
                               couples (how partners differ from each other) and the variance that occurs between couples
                               (how couples differ from each other). Predictors, both those that vary by couples (e.g.,
                               family income), and by partner (e.g., education), can then be added to explain this variance.

                               The hierarchical linear models tested were two-level random intercept models such that both
                               parents’ reports (Level 1) were nested within the couple (Level 2). A single intercept was
                               used as there was no characteristic meaningful to the analyses (such as parent gender)
                               available to distinguish between the two parents in a couple (Smith et al., 2013). In Level I
                               of the unconditional model, the intercept, /4i represents average outcome score for each
                               couple, and r, represents the deviation of each member of the couple from the couple
                               average. This intercept is treated as randomly varying; that is, it is allowed to take on
                               different values for each couple. The intercepts that are estimated for each couple are treated
                               as an outcome variable at Level 2. The intercept in the Level-2 equation, ‘y, provides an
                               estimate of the average outcome score across couples and 11 represents the deviation of
                               each couple from the overall average across all couples.



                                  Early ChjidRes Q. Author manuscript; available in PMC 2016 April 22.
      Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 13 of 30




            Goldberg and Smith                                                                                          Page 13


                                 Level 1 (within couples):
>
                                                                                    j=/3Oj+j




                                 Level 2 (between couples):



I:                               where Y-represents the outcome score of partner un dyadj where i= 1, 2 for the two
                                 members of the dyad. In addition to the above “fixed effect” estimates (e.g., the ypp’s),
                                 estimates of the variance of the “random effects” both within and between couples are
                                 provided (e.g., the variance of the iVs and the 11015), as well as the covariance between
                                 partners. Predictors can then be added to the model, with those that vary within couples
                                 (e.g., education level) added at Level 1 and those that vary between couples (e.g., family
                                 income) added at Level 2. HLM was also used to examine mean differences by family type
                                 on the descriptive variables for which there was more than one report per family (e.g.,
                                 parents’ work hours).

                                 IILM of dyadic data does not, however, always derive accurate parameter estimates, when
                                 applied to dichotomous outcomes (or other outcomes requiring a link ftmction; Raudenbush,
                                 2008; Smith et al., 2013). We used hierarchical general linear modeling (HGLM) with a La
                                 Place transformation to improve parameter estimation (Raudenbush, Yang, & Yosef 2000)
                                 to address Questions 1 and 2 regarding whether or not parents considered each of the eight
                                 selection factors, for which all outcomes were dichotomous (i.e., whether or not parents
                                 considered the factor). As a check, we refit all models examining dichotomous outcomes
                                 using logistic regression. Continuous variables (i.e., income) were grand mean-centered.
                                 Dichotomous variables (sexual-minority versus heterosexual couple; White child versus
                                 child of color; public versus private school) were dummy coded (0, 1). To examine for
                                 collinearity, each predictor was entered alone as well as in combination with each other
                                 variable.
(1)
C)
                                 2.4.2. Follow-up analysis—In our analyses of school selection considerations, we first
                                 substituted several alternate codes for child race (i.e., Black versus non-Black;
                                 internationally adopted from non-Anglo country versus not; transracial adoption versus
                                 inracial), out of an awareness that complexities of race, ethnicity, and culture may be
                                 difficult to capture. Second, we conducted follow-up analyses controlling for the number of
                                 hours children were in school, child age, and parent race. Third, to ascertain whether there
                                 were differences in findings for lesbian versus gay male parents, all models were fit using
                                 separate dummy variables (0, 1) for lesbian and gay men, and then refit, changing the default
                                 category (i.e., gay male, heterosexual), so that differences between all groups could be
                                 examined. In our analyses of perceived mistreatment, we conducted follow-up analyses
                                 controlling for the number of hours children were in school, child age, parent race, and type
                                 of adoption (inracial!transracial). We then examined whether there were differences in
                                 findings for lesbian versus gay male parents.




                                    Early (‘hildRes Q. Author manuscript; available in I’MC 2016 April 22.
     Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 14 of 30




           Goldberg and Smith                                                                                            Page 14


              3. Results
              3.1. School selection factors: descriptives
                                Table 2 presents the percentage of parents who endorsed considering each factor in selecting
                                a school for their child, for the full sample and broken down by family type, child race, and
                                school type (private versus public school: 75% of the sample had their child enrolled in a
                                private school). As Table 2 reveals, educational philosophy was the most frequently
                                endorsed consideration (82%), for the frill sample and for each group. Cost was the second
                                most frequently cited consideration, for the full sample (60%) and for heterosexual parents
                                (62%). Among sexual-minority parents, however, the gay-friendliness of the school was the
                                second most common consideration, with 66% of lesbians and 69% of gay men indicating
                                gay-friendliness as a concern in their selection of a school. Cost followed close behind, with
                                62% of lesbians and 55% of gay men indicating that cost factored into their selection of a
                                school. Racial diversity was the fourth most commonly endorsed consideration, for the full
                                sample (40%), and for each group although there was significant variability by group, with
                                                                        —




                                57% of lesbians, 38% of gay men, and 28% of heterosexuals indicating that they considered
                                racial diversity. Location was not offered as a specific option, however, it was the fifth most
                                frequently endorsed consideration (26%) according to responses to the “Other” category.
                                Fewer than 25% of sexual-minority participants (16% of lesbians, 24% of gay men)
-                               considered the presence of other lesbianlgay-parent families, and just 11% of the full sample
                                considered the presence of other adoptive families in their search for a school. Finally, just
                                10% of the sample considered the religion or language offerings of the school.

                                Table 2 also shows the breakdown by child race. As Table 2 reveals, there is a noticeable
                                difference in the consideration of racial diversity: 26% of parents of White children
                                compared to 48% of parents of children of color considered racial diversity. Table 2 shows
                                the breakdown by school type. All considerations, with the exception of cost, were more
o                               likely to be named by parents of children who attended private schools, while cost was cited
                                more often by parents of children attending public schools.
2)
                                In response to the request to list other considerations in choosing a school, in addition to
                                mentioning location (26%), small percentages of parents identified the reputation of the
                                school (4.5%), special needs accommodations (2.5%), and the teacher-child ratio (1.5%) as
                                shaping their school selection. Other less-often cited considerations were cleanliness and
                                flexibility.

                                The intraclass correlation (ICC) for mistreatment due to adoptive status (i.e., the correlation
                                between partners’ reports of mistreatment) was .42. The ICC for mistreatment due to sexual
>                               orientation was .68, and for comirninity gay-friendliness, it was .62. Thus, partners within
                                couples tended to have more similar perceptions of sexuality-related stigma than adoption
                                related stigma. For each of the school selection considerations (all of which were
                                dichotomous variables), we determined intracouple agreement by calculating the percentage
                                of couples in which both partners considered, or did not consider, a given factor. The
                                percentage of couples with convergent (as opposed to discrepant) reports for each factor is as
                                follows: cost (67%); location (58%); educational philosophy (88%); religion/language
                                (88%); racial diversity (8 1%); adoptive family presence (86%); lesbian/gay-parent family


                                   Early Chi/dRes Q. Author manuscript; available in PMC 2016 April 22.
    Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 15 of 30




          Goldberg and Smith                                                                                             Page 15


                               presence (73%); school gay-friendliness (60%). Thus, the majority of partners within
                               couples had convergent reports for each type of selection criteria.

             3.2. School selection factors by sexual orientation and child race
                               1-lierarchical general linear modeling (L-IGLM) for dichotomous outcomes was used to
                               examine whether parent sexual orientation (sexual-minority parent versus heterosexual
                               parent) and child race predicted each type of school selection factor (Table 3). Two control
                               variables, parents’ income and education level, were entered given that financial and
                               educational resources niay influence their selection criteria (Goyette, 2008; Peyton et al.,
                               2001). Income was related to cost as a selection factor, such that parents with less income
                               were more likely to consider cost, B = —.005, SE = .002, OR = .99, t(165) —2.45, p = .0 16.
                               Education was related to location as a selection factor, such that parents with less education
                               were more likely to consider location, B = —.43, SE = .21, OR = .65, t( 165) = —2.06, p =
                               041.

                               In predicting racial diversity as a selection factor (Table 3), we found a significant effect of
                               child race, such that parents of children of color were more likely to consider racial diversity
                               than parents of White children, B = .97, SE = .45, OR= 2.65, t(165) 2.12, p = .035. Parent
                               sexual orientation was also significant, such that heterosexual parents were less likely to
                               consider racial diversity than sexual-minority parents, B = —1.37, SE = .43, OR = .25, t(l65)
—                               —3.20, p = .002. Parent education was also significant, such that more educated parents
                               were more likely to consider racial diversity, B = .43, SE = .22, OR = 1.52, t(l65) = 2.00, p
                                .047.

                               Regarding the presence of other adoptive families (Table 3), we found that parent sexual
                               orientation was associated with the presence of adoptive families as a selection factor, such
                               that heterosexual parents were less likely than sexual-minority parents to consider the
                               presence of adoptive families at the school, B = —1.32, SE = .62, OR = .27, t(1 65) —2.11, p
                                 .036. The effect of education was also significant, such that more educated parents were
                               more likely to consider whether there were other adoptive families at the school than less
                               educated parents, B = 1.32, SE = .39, OR = 3.75, t(160) = 3.37, p = .001. There were no
                               significant findings for parent sexual orientation, child race, income, or education in
                               predicting educational philosophy or religion/language as selection factors.

            3.3. School selection factors by parent gender and child race (sexual-minority parents
            only)
                               Turning to the sexual minority-specific selection factors (Table 4), we found that education
                               level was associated with the presence of other lesbian/gay-parent families as a selection
                               factor, such that sexual-minority parents with higher levels of education were more likely to
                               consider this than less educated sexual-minority parents, B = .82, SE = .37, OR = 2.28, t(85)
                               = 2.18,
                                        p = .031. Likewise, we found that education level was also related to the gay
                               friendliness of the school as a selection factor, at the level of a trend, such that sexual
                               minority parents with higher levels of education were somewhat more likely to consider the
                               gay-friendliness of the school than less educated sexual-minority parents, B = .45, SE = .24,
                               OR= 1.57, t(85) = 1.85, p= .067.



                                  Early C’hiidRes Q. Author manuscripi; available in PMC 2016 April 22.
     Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 16 of 30




           Goldberg and Smith                                                                                            Page 16


                                3.3.1. Exploratory follow-up analyses
                                3.3.1.1. Additional controls: We added several additional controls in follow-up analyses
                                predicting school selection criteria: namely, hours in school per week, child age, and parent
                                race. None of the findings changed with the addition of these controls (or when the original
                                controls were removed), and none of the additional variables were significant, with one
                                exception. Parents whose children were in preschool more hours per week were more likely
                                to consider the religion/language of the school, B = .06, SE = .03, OR = 1.06, t(162) = 2.10,
                                p = .037. Further, none of the findings changed with two out of the three alternate codings
                                for child race. Both Black versus non-Black and transracial versus inracial significantly
                                predicted consideration of racial diversity. Specifically, parents who adopted Black children
                                were more likely to consider racial diversity, B = 1.05, SE = .48, OR = 2.86, t(165) = 2.17, p
                                = .03 1, and parents who adopted transracially were more likely to consider racial diversity, B


                                   1.03, SE = .44, OR = 2.79, t( 165) = 2.32, p = .021. Non-Anglo versus Anglo did not
                                predict racial diversity as a selection factor, however, indipating that adopting a child with
                                both racial and cultural differences did not necessarily lead parents to consider racial
                                diversity.

                                3.3.1.2. Differences between lesbian versus gay parents: To determine whether school
                                selection considerations differed for lesbian parents and gay parents, we substituted lesbian
                                and gay dummy codes (lesbian: 1, 0, where 1 = lesbian and 0 = not a lesbian; gay: 1, 0,
                                where 1 = gay and 0 = not a gay man) for sexual orientation. This enabled us to probe for
                                differences across all three family groupings (lesbian, gay, heterosexual), by altering the
                                default category. Models showed no differences between lesbians and gay men in predicting
                                any outcome.

                                In addition, we examined whether the findings for same-sex couples held up when lesbian
                                and gay male parents were examined separately (lesbian and gay dummy variables were
                                substituted for heterosexual versus sexual minority). These analyses showed fairly consistent
                                findings for both lesbians and gay men. The significance for gay men fell to the level of a
D                               trend in predicting racial diversity as a school selection consideration, B = .88, SE = .46, OR
U’                                 2.39, t(l65) = 1.88 p = .062, while the effect for lesbians remain significant, B = 1.60, SE
                                   .47, OR = 4.97, t(165) = 3.40, p = .001. In addition, both lesbian, B = 1.22, SE = .66, OR
                                   3.39, t(165)= 1.83, p .069, and gay, B = 1.53, SE= .78, OR= 4.63, t(l65) 1.95, p=
                                052, emerged as marginally significant in predicting the presence of other adoptive families
                                as a selection consideration.

              3.4. Perceptions of mistreatment due to adoptive status
                                Of interest was whether parent sexual orientation or child race predicted perceived school
                                mistreatment due to adoptive status, controlling for income, education, and school type
                                (Table 5). HLM analyses revealed that parent sexual orientation was marginally related to
                                perceived mistreatment due to adoptive status, F(l, 83) = 3.39, p .069; B = .15, SE = .08,
                                t(83)= —1.84, p = .069, such that heterosexual parents perceived somewhat higher levels of
                                mistreatment than sexual—minority parents. Of note is that parents reported relatively low
                                levels of mistreatment due to adoptive status overall, with an overall M of 1.69 on a scale of
—                               1—5 (Mdn = 1.63, SD = .50; range 1.00—3.71), and M = 1.81 (Mdn = 1.75, SD = .52, range


                                   Early ChildRes Q. Author manuscript; available in PMC 2016 April 22.
     Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 17 of 30




           Goldberg and Smith                                                                                           Page 17


                                1.00—3.71) for heterosexual parents, M = 1.65 (Mdn= 1.62, SD = .46, range 1.00—2.88) for
                                lesbian parents, and M = 1.52 (Mdn = 1.50, SD = .42, range 1.00—3.00) for gay male
                                parents. While several individual items were skewed, the overall distribution for the scale
                                was only mildly skewed (skewness = .66, SE of skewness = .2 1).
2)
              3.5. Perceptions of mistreatment due to sexual orientation
                                When perceived mistreatment due to sexual orientation was treated as the outcome, gender
                                (gay men versus lesbian women), child race, and perceived community gay-friendliness
                                were included as predictors, with income, education, and school type included as controls
                                (Table 5). Community gay-friendliness predicted perceived mistreatment related to sexual
                                orientation, such that parents who perceived their communities as more unfriendly (more
                                homophobic) reported more mistreatment, F(1, 86) = 5.07, p = .027; B .18, SE = .08, t(86)
                                = 2.25,
                                        p = .027. Sexual-minority parents reported relatively low levels of perceived
                                mistreatment due to their sexual orientation, on average: M 1.66 (Mdn = 1.62, SD = .48,
                                range 1.00—3.13) for lesbian parents, and M = 1.75 (Mdn = 1.50, SD .81, range 1.00—5.00)
-‘                              for gay parents. While several individual items were highly skewed, the overall distribution
                                for the scale was moderately skewed (skewness = 1.03, SE of skewness = .20).

                                3.5.1. Exploratory follow-up analyses
                                3.5.1.1. Additional controls: Several additional controls were included in predicting the two
                                school mistreatment outcomes (hours in school; child age; parent race: of color versus
                                White; type of adoption: transracial versus inracial/same-race adoption). None were
                                significant, either when the original controls were retained or when they were removed.

                                3.5.1.2. Differences between lesbian versus av parents: To determine whether perceived
                                mistreatment due to adoptive status differed for lesbian parents and gay parents, we
                                substituted lesbian and gay dummy codes (lesbian: 1, 0, where I = lesbian and 0 = not a
-‘                              lesbian; gay: 1, 0, where 1 = gay and 0 = not a gay man) for sexual orientation, which, again,
                                enabled us to probe for differences across all three family groupings. Perhaps due to
                                insufficient power, once lesbian and gay were split into separate groups, neither dummy
                                code was significant.


             4. Discussion
                                The current exploratory study is the first that we know of to examine school selection
                                considerations and perceived mistreatment among lesbian, gay, and heterosexual adoptive
                                parents of preschool-aged children. The findings hold implications for early childhood
                                educators.

                                In considering our descriptive data regarding the frequency by which parents considered
                                each of the various school criteria, we found that educational philosophy was the most
2)                              frequently named consideration for the full sample and for each group. This is consistent
C                               with prior research showing that educational philosophy often weighs heavily in parents’
                                school selection process —especially among middle-class parents, such as the current sample
                                (Peyton et al., 2001). Cost was the second most frequently endorsed concern, for the ftill



                                   Earl)’ GhiidRes Q. Author manuscript; available in PMc’ 2016 April 22.
     Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 18 of 30




           Goldberg and Smith                                                                                             Page 18


                                sample and for heterosexual parents; however, among lesbian and gay parents, the gay
                                friendliness of the school was the second most common consideration, with cost following
                                close behind. This finding is interesting, especially contrasting it with the findings of the
-‘                              GLSEN survey, which found that less than one-fifth of parents emphasized the school’s
                                reputation for being welcoming of LGBT-parent families in selecting a school (Kosciw &
                                Diaz, 2008). This difference may reflect the fact that whereas most of the parents in the
                                GLSEN sample had elementaiy school-age children, the majority of whom were in public
                                schools, the parents in the current study were selecting preschools, most of which were
                                private, and thus felt that they could weigh school gay-friendliness more heavily in their
                                school selection. This finding carries implications for early childhood educators, in that it
                                suggests that sexual-minority parents often consider the gay-friendliness of preschools in
                                making decisions about where to send their children.

                                Indeed, the relatively low level of perceived mistreatment due to sexual orientation in our
                                sample is perhaps in part due to the fact that the gay-friendliness of the school was an
O                               important school selection consideration for sexual-minority participants. In turn, their
                                children typically ended up at schools that were at least relatively gay-friendly. This finding
                                is consistent with prior qualitative research showing that sexual-minority parents often seek
                                out progressive, gay-friendly schools in an effort to decrease the likelihood their children
                                will be exposed to stigma based on their family structure (Casper & Schultz, 1999; Mercier
                                & Harold, 2003). As the parents in this sample were fairly affluent, future work should
                                examine patterns and predictors of perceived school mistreatment due to sexual orientation
                                in samples that, for financial or geographic reasons, ultimately have less access to
                                progressive and gay-friendly schools.

                                Racial diversity was the fourth most often endorsed consideration, for the full sample, and
                                for each group although lesbians were the most likely to consider racial diversity and
                                heterosexuals were the least likely to consider it. This is consistent with the finding, in our
                                multivariate analysis, that sexual orientation significantly predicted the degree to which
                                parents considered racial diversity in selecting a school for their child. Location —which we
                                did not explicitly ask about, but some participants identified as a salient variable influencing
                                their decision was the fifth most commonly endorsed consideration. Less than a quarter of
                                sexual-minority parents considered the presence of other lesbian/gay-parent families in
                                selecting a school, and about one-tenth of the overall sample considered the presence of
                                other adoptive families. That these factors were rarely recalled as significant determinants of
                                parents’ choice of a school may reflect the overall paucity of these families in their
                                communities, and, thus, their understanding that it was unrealistic to prioritize these in their
                                selection process. Religion/language offerings were also rarely considered. This is somewhat
                                consistent with the OLSEN survey, which found that only 10% of the parents in their sample
                                emphasized the language programs offered in selecting a school; also, the children in the
                                GLSEN sample were less likely than national percentages to be attending a religiously
                                affiliated school (Kosciw & Diaz, 2008).
C
                                \Ve also examined the factors that predicted the degree to which parents considered each of
                                these school criteria. Our finding that parents with less income were more likely to consider
                                cost in selecting a school was unsurprising, and is consistent with prior work showing that


                                   Earl)’ GhildRes Q. Author manuscript; available in PMC 2016 April 22.
     Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 19 of 30




           Goldberg and Smith                                                                                              Page 19


                                practicality-based school considerations are more common among individuals with fewer
                                resources (Leslie et at., 2002; Smrekar & Goldring, 1999). Affluent parents may feel less
                                constrained by cost in choosing a preschool, and/or they may be more willing to spend
                                money on a preschool, especially to gain valued aspects of schools such as the presence of
                                diverse families (Smrekar & Goldring, 1999). Similarly, less educated parents were more
                                likely to consider location in choosing a preschool, again echoing previous findings showing
                                that fewer resources are associated with greater consideration of practical factors in school
                                selection (Smrekar & Goldring, 1999).

                                We found that more educated parents were significantly more likely to consider both the
                                presence of racial diversity and other adoptive families in choosing a preschool for their
                                children and, among sexual-minority parents, the presence of other lesbian/gay-parent
                                         —




                                families and the gay-friendliness of the school. This likely reflects the role of education in
                                shaping ideas about the value and role of schooling, whereby middle-class parents are more
                                likely to prioritize the degree to which children’s educational environments match or reflect
                                their own family’s values and attributes (Goyette, 2008; Wells & Cram, 1997). Our finding
                                that, among sexual minorities, parents with more education were more likely to consider the
                                presence of other lesbian/gay-parent families provides quantitative support for prior
                                qualitative work suggesting that social class plays a role in shaping lesbian mothers’ values
                                and priorities with regard to schooling (Casper & Schultz, 1999; Nixon, 2011).

                                Sexual-minority parents were more likely than heterosexual parents to consider the presence
                                of adoptive families in choosing a school. These parents were likely aware of the multiple
                                ways that their child would be different from their peers at school, and were thus motivated
                                to find a school that seemed to reflect, normalize, and perhaps value at least this aspect of
                                their family’s diversity. They may also simply place a higher value on diversity in general, as
                                suggested by the fact that they were also more likely to value racial diversity, regardless of
                                their children’s race. This notion is consistent with previous findings that sexual minorities
                                often value schools’ inclusion of diversity because they believe that it bodes well for the
Q)                              school’s attitude toward lesbian/gay-parent families (Gartrell et al., 2000; Kosciw & Diaz,
                                2008). That heterosexual parents were less likely to consider the presence of adoptive
                                families is interesting in light of the finding that they were also more likely to perceive
                                mistreatment due to adoptive status than sexual-minority parents. Prior work has found that
                                heterosexual adoptive parents possess greater internalized stigma surrounding adoption
                                (Goldberg et al., 2011) and are more concerned about not appearing visibly different from
                                the heterosexual nuclear family model (Goldberg, 2009), compared to lesbian/gay adoptive
                                parents. In turn, heterosexual adoptive parents may not be as likely to emphasize their
                                adoptive status and thus seek out the presence of adoptive families.
C
                                Consistent with prior work (Kosciw & Diaz, 2008; Vonk et al., 2010), adoptive parents of
                                children of color were more likely to consider the school’s racial diversity than parents of
                                White children. Indeed, this finding is consistent with Vonk et al’s finding that over half of
                                their sample of heterosexual parents of adopted children of color chose teachers and child
                                care providers in part out of awareness of racial socialization issues. Future work is needed
-5                              that (a) examines how parents of adopted, racial minority children make decisions about
                                their children’s schooling, and (b) identifies the parent-, child-, and social-contextual factors


                                   Early (hildRes Q. Author manuscript; available in PMC 2016 April 22.
    Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 20 of 30




          Goldberg and SYUt1i                                                                                              Page 20


                                that distinguish those parents of children of color who consider racial diversity in the
                                selection process from those who do not.

                                Next we turn to the findings related to parents’ experiences of school mistreatment. Sexual
                                minority parents were somewhat less likely to perceive school mistreatment due to their
                                adoptive status than heterosexual parents. Sexual-minority parents may simply be more
                                attuned to other aspects and areas of potential mistreatment namely, mistreatment related
                                                                                                      —




                                to their sexual orientation. For lesbian and gay parents, adoption is not an alternative route to
                                family building; it is one of the typical or expected routes to family building (Goldberg,
                                2010). Thus, they may expect and perceive less mistreatment related to their adoptive status,
                                because they do not view this as the most remarkable aspect of their families. Heterosexual
                                adoptive parents, on the other hand, may be more sensitive to how school administrators are
                                responding to their adoptive status because they more clearly deviate from some
                                (heterosexual, nuclear biologically-related family) norm. Further, prior research has
                                documented higher levels of internalized stigma sunounding adoption in heterosexual
                                adoptive parents as compared to same-sex adoptive parents (Goldberg et al., 2011). This
                                higher level of stigma may predispose heterosexual parents to greater sensitivity regarding
                                how their families are being treated by outsiders. Educators should thus be aware that
                                heterosexual adoptive families may be especially sensitive to perceived exclusion or stigma
                                related to their adoptive family status. In turn, they should be sensitive to how language and
—                               cumcular materials may alienate all adoptive parents (e.g., by failing to acknowledge that
                                not all mothers gave birth; by failing to acknowledge that not all children have been with
                                their parents from birth).

                                Regarding school mistreatment due to sexual orientation, sexual-minority parents who
                                perceived their communities as less gay-friendly were more likely to perceive school bias
                                due to sexual orientation. This provides some indication of how aspects of the broader social
                                context (e.g., community attitudes) may shape or “trickle down” into more localized school
                                attitudes and practices (Bronfenbrenner, 1986). Prior qualitative research has also pointed to
                                the significance of geographic context for parents’ experiences of their children’s schools,
                                with lesbian and gay parents who lived in more “progressive” areas describing more positive
                                experiences with their children’s schools (Casper & Schultz, 1999). Parents who perceive
                                their communities as gay-friendly may tend to find that their children’s schools reflect and
                                embody the communities’ values; likewise, parents who feel that their communities are
                                honiophobic may face similar issues in the microcosm of their children’s schools. Educators
                                who teach in geographic areas that are relatively conservative and homophobic should be
                                sensitive to the need to offset the stigma that lesbian/gay adoptive families may face in their
                                broader communities.
>
C
                                In sum, we found that limited resources were related to practical concerns (cost, location) in
                                choosing a school, such that parents with more financial and educational constraints were
                                more likely to consider these factors. On the other hand, more educated parents tended to
                                emphasize all aspects of diversity adoptive families, racial diversity, and the presence of
                                                                       —




                                other lesbian/gay parents, among sexual minorities illustrating how education may shape
                                                                                           —




-                               values and concerns about schooling. Sexual-minority parents were also more likely to
                                consider racial diversity. Finally, we found that heterosexual parents were more likely to


                                   Early ChildRes Q. Author manuscript; available in PMC 2016 April 22.
    Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 21 of 30




          Goldberg and Smith                                                                                               Page 21


                               perceive mistreatment due to their adoptive status than sexual-minority parents, and sexual
                               minority parents living in less gay-friendly communities were more likely to perceive
                               mistreatment due to sexual orientation than sexual minority parents living in more gay—
                               friendly communities.

             4.1. Limitations
                               The current study has several key strengths, when comparing it to the prior literature,
                               including its examination of sexual-minority parents of young children, its inclusion of gay-
                               father families, and its quantitative design. But there are a number of limitations to the study.
                               First, we did not assess parents’ decision-making prospectively (i.e., before they selected a
                               preschool) as some research has done (Galotti & Tinkelenberg, 2009). Rather, we asked
                               parents who had children currently enrolled in preschools about their selection
                               considerations. Thus, it is possible that parents’ choice of a preschool ultimately influenced
                               what factors they recalled as most important to them. Reporting retrospectively on their
                               consideration of their school selection process, they may have been motivated to identi’ a
                               coherent and logical narrative whereby they chose a school that fit with their values and
                               priorities. In essence, their recollections may have been influenced by their actual
                               experiences with their children’s schools. Second, we only measured perceived community
                               gay-friendliness; we did not include an objective measure of community political attitudes or
                               practices, for example. Further, our measurement of community gay-friendliness was based
                               on a single item. Although this was not ideal, it is notable that other studies have also used
                               one-item measures to assess contextual aspects of gay-friendliness (e.g., neighborhood gay-
                               friendliness; Goldberg & Smith, 2011). A third limitation is that we did not provide
                               definitions of “private” and “public” schools to participants; thus, it is possible that some
                               parents may have misunderstood and misrepresented the type of school that their children
>                              attended. Fourth, we did not ask parents directly about location in our initial survey; they
                               volunteered this as an additional factor that they considered, and thus we included it in
                               analyses. Thus, the number of parents who considered location is likely an undercount.
                               Fifth, our measures of mistreatment were created for the study, and lack established
                               psychometric properties; thus, future research utilizing these measures is needed. Sixth, the
                               sample was well-educated, financially well-off, and mostly White. Greater diversity in
-                              parent race, for example, might have allowed us to discern interesting differences for White
                               parents versus parents of color, and to probe differences among parents of different racial
                               and ethnic groups.

            4.2. Conclusions and implications for practice
                               Early childhood educators and administrators should be aware that sexual-minority adoptive
                               parents are likely to be attentive to issues of family, racial, and sexual diversity in evaluating
                               and selecting preschools for their children. Parents of preschoolers may be particularly
                               sensitive to these issues, insomuch as they have more contact with and control over their
                               children’s school environments than parents of school-age children (Beveridge, 2005).
                               Educators who wish to create a welcoming atmosphere for sexual-minority parents, then,
                               should consider how to demonstrate best their commitment to diversity in their schools and
                               classrooms. This may require additional professional training, insomuch as childhood
                               educators and preschool teachers often receive minimal preparation for working with sexual


                                  Early GhildRes Q. Author manuscript: available in PMC 2016 April 22.
     Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 22 of 30




           Goldberg and Smith                                                                                                           Page 22


                                minority parent families, and may experience uncertainty about how to enact a more
                                inclusive and affirming approach to these families (Kintner-Duf’, Vardell, Lower, &
                                Cassidy, 2012). Early childhood educators may also benefit from training that encourages
—‘                              awareness and knowledge of adoptive-parent families     particularly heterosexual adoptive
                                                                                                 —




                                parent families, who may be especially sensitive to adoption-related stigma and exclusion.
                                On a more general level, it is critical that early childhood educators recognize the growing
                                diversity of contemporary families in the US, and consider issues of adoption, family
                                structure, and race in thinking about curriculum development and in ensuring classroom
                                environments that are welcoming of all families.

                                Insomuch as preschool is a key stage during which children are beginning to develop an
                                understanding of basic concepts such as race, ethnicity, gender, and families (Trolley,
                                Magerkorth, & Fromme, 1999), and family structures are becoming increasingly diverse
                                (Gates et al., 2007; Goldberg, 2010), it is critical that early childhood educators are educated
                                about the benefits of creating a more inclusive curriculum and overall approach to teaching
                                about families and diversity. Preschool is the stage during which children are often
                                beginning to comprehend, and are thus receptive to, lessons about diversity and difference
                                (Trolley et al). In the absence of such lessons, even very young children may develop
                                heterosexist and racist sentiments (Robinson & Ferfolja, 2002), creating an environment in
                                which children with sexual-minority parents—as well as children of color and adopted
—                               children   —   may feel stigmatized, excluded, or ignored.


              Acknowledgments
                                This research was fttnded by several grants, awarded io the first author: Grant# R03HD054394, from the Eunice
                                Kennedy Shriver National Institute of Child Health & Human Development; the Wayne F. Placel award, from the
                                American Psychological Foundation; and a grant from ihe Spencer Foundation.


              References
                                Beveridge, S. Children, families, and schools: Developing partnerships for inclusive education.
                                  London, England: Routledge Falmer; 2005.
                                Bronfenbrenner U. Ecology of the family as a context for human development. Developmental
                                   Psychology. 1986; 22:723—742. http://dx.doi.org/l 0.1037/0012-1649.22.6.723.
                                Bryant, D.; Peisner-Feinberg, E.; Miller-Johnson, S. Head Start parents’ roles in the educational lives
                                  of their children. Paper prescnied at the annual conference of the American research association;
                                  Nesv Orleans, LA. 2000. p. ED 446 835
                                Burger K. How does early childhood care and education affect cognitive development? An
                                  international review of the effects of early interventions for children from different social
                                  backgrounds. Early Childhood Research Quarterly. 2010; 25:140--I 65. hllp://dx.doi.org’lO. 1016’
                                  j.ecresq.2009. 11.001.
                                Byard, E.; Kosciw, J.; Bartkiewicz, M. Schools and LGBT-parenl families: Creating change through
                                  programming and advocacy. In: Goldberg. AE.; Allen, KR., editors. LGBT-parenl families:
                                  Innovations in research and irnplmcalions for practice. New York. NY: Springer; 2013. p.
                                  275-290.http:”dx.doi.org’lO. 1007’978-l-46l4-4556-2l8
                                Casper, V.; Schultz. S. Gay parents/straight schools: Building communication and trust. New York,
                                  NY: Teachers College Press: 1999.
                                Child Welfare Information Gateway. Adoption and school. 2012. Relrieved from htlp:/’
                                  www.ehildsvelfare.govadopliou’adopiparenting/school/




                                   Early ChidRes Q. Author manuscript; available in PMC 2016 April 22.
      Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 23 of 30




            Goldberg and Smith                                                                                                    Page 23

                                 Cryer D. Burchinal i’vI. Parents as child care consumers. Early Childhood Research Quarterly. 1997:
                                    12:35—58. http://dx.doi.org/l 0.101 6/SOSS5-2006(97)90042-9.
                                 Cryer D, Tietze W, Wessels W. Parents’ perceptions of their children’s child care: A cross-national
                                   comparison. Early Childhood Research Quarterly. 2002; 17:259—277. http://dx.doi.org/l0.l0l6/
                                   S0885-2006(02)00l48-5.
                                 Early D, Burchinal M. Early childhood care: Relations with family characteristics and preferred care
                                     characteristics. Early Childhood Research Quarterly. 2001; 16:475—497. htip://dx.doi.org/l0.1016/
(I)                                  S0885-2006(0l)00120-X.
C)
                                 Enge N. “Do I belong here?” Understanding the adopted, language-minority child. Childhood
                                    Education. 1999: 75(2):106—108.
                                 Gartrell N, Banks A, Reed N. Hamilton J, Reed N, Bishop H. ci al. The National Lesbian Family
                                     Study: 2. Interviews with mothers of toddlers.. American Journal of Orthopsychiatry. 1999;
                                     69:362—369. hitp://dx.doi.org/l 0.1 037/h00804 10. [PubMed: 10439850]
                                 Gartrell N, Banks A, Reed N, Hamilton J, Rodas C, Deck A. The National Lesbian Family Study: 3.
                                     Interviews with mothers of five-year-olds. American Journal of Orthopsychiatry. 2000; 70:542—
                                     548. http://dx.doi.org/l0.l037/h0087823. [PubMed: 110865321
                                 Gates, G.; Badgett, MVL.; Macomber, JE.; Chambers, K. Adoption and foster care by gay and lesbian
                                     parents in the United States. Washington, DC’: The Urban Institute; 2007.
                                 Gates, G.; Ost, J. The gay and lesbian atlas. Washington, DC: The Urban Institute; 2004.
                                 Galotti KM Tinkelenberg CE. Real-life decision making: Parents choosing a first-grade placement.
                                     American Journal of Psychology. 2009; 122:455-468. [PubMed: 20066925]
Cl)                              Gilmore DP, Bell B. We are family: Using diverse family structure literature with children. Reading
                                     Horizons. 2006; 46(4):279—299.
                                 Glenn-Applegate K, Pentirnonti J, Justice LM. Parents’ selection factors when choosing preschool
                                    programs for their children with disabilities. Child Youth Care Forum. 2011; 40:211—231. http://
                                    dx.doi.org/l 0.1007/s 10566-010-9134-2.
                                 Glover. J.; Bruning, R. Educational psychology. Boston, MA: Little, Brown, & Co: 1987.
                                 Goldberg AE. Lesbian and heterosexual preadoptive couples’ openness to transracial adoption.
                                     American Journal of Orthopsychiatry. 2009; 79:103—117. http://dx.doi.org/l0.l037/a00 15354.
                                     [PubMed: 19290730]
                                 Goldberg, AE. Lesbian and gay parents and their children: Research on the family life cycle.
                                    Washington, DC: American Psychological Association; 2010.
                                 Goldberg AE, KinkIer LA, Hines DA. Perception and internalization of adoption stigma among
                                    lesbian, gay, and heterosexual adoptive parents. Journal of GLBT Family Studies. 2011; 7:132—
                                     154. http://dx.doi.org/l0.l080/I550428X.20 11.537554.
                                 Goldberg AE, Smith JZ. Stigma, social context, and mental health: Lesbian and gay couples across the
C)                                  transition to adoptive parenthood. Journal of Counseling Psychology. 2011; 58:139—150. http://
                                    dx.doi.org/l 0.1 037/a002 1684. [PubMed: 21171740]
                                 Goyette K. Race, social background, and school choice options. Eqtuty and Excellence in Education.
                                    2008; 41:114—129. hitp://dx.doi.org/l0.l080’10665680701774428.
                                 Husband H. I don’t see color”: Challenging assumptions about discussing race with young children.
                                    Early Childhood Education Journal. 2012; 39:365—371. http://dx.doi.org/l0.1007/
                                    s10643-0l 1-0458-9.
                                 Kenny. D.: Kashy, D.; Cook, W. Dyadic data analysis. Thousand Oaks, CA: Sage; 2006.
                                 Kintner-Duffy V. Vardell R, Lower J. Cassidy D. The changers and the changed”: Preparing early
                                     childhood teachers to work with lesbian, gay, bisexual, and iransgender families. Journal of Early
o                                    Childhood Teacher Education. 2012; 33:208—223. http://dx.doi.org/
                                     l0.1080/10901027.2012.705806.
                                 Kirves L, Sajanierni N. Bullying in early educational settings. Early Child Development and Care.
                                     2012; 182:383—400.
                                 Kosciw, JG.; Diaz, EM. Involved, invisible, ignored: The experiences of lesbian, gay, bisexual, and
                                    transgender parents and their children in our nation’s K-12 schools. New York, NY: Gay, Lesbian,
                                    Straight Education Network; 2008. Retrieved from svsvsv.glsen.org!cgi-bin’iowa’all’ness’record
                                    2271 html


                                    Early ChildRes Q. Author manuscripi: available in PMC 2016 April 22.
      Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 24 of 30




            Goldberg and Smith                                                                                                     Page 24

                                  Lareau A. Social class differences in family—school relationships: The importance of cultural capital.
                                      Sociology of Education. 1987; 60:73—85. http://dx.doi.org/l0.2307/2ll2583.
                                  Lamer, M.; Phillips, D. Defining and valuing quality as a parent. In: Moss, P.; Pence, A., editors.
                                     Valuing quality in early childhood services. London, England: Paul Chapman; 1994. p. 43-60.
                                  Leslie LA, Ettenson R, Cumsille P. Selecting a child care center: Whal really matters to parents? Child
                                      & Youth Care Forum. 2002: 29:299—302.
                                  Lindsay J, Perlesz A, Brown R, McNair R. de Vaus D, PiUs M. Stigma or respecl: Lesbian-parented
                                      families negotiating school settings. Sociology. 2006; 40:1059—1077. http://dx.doi.org/
                                      10.1177/0038038506069845.
-D
                                  Magnuson K, Waldfogel J. Early childhood care and education readiness: Effects on ethnic and racial
                                      gaps in school. The Future ofChildren. 2005; 15:169—196. http://dx.doi.org/l0.l353/foc.
                                      2005.0005. [PubMed: 161305461
                                  McClain M. Parental agency in educational decision-making: A Mexican American example. Teachers
                                      College Record. 2010; 112:3074—3101.
                                  Mercier LR, Harold RD. At the interface: Lesbian-parent families and their children’s schools.
                                      Children & Schools. 2003; 25:35—47. htlp://dx.doi.org!l 0.1 093/cs/25. 1.35.
 C                               Nixon C. Working-class lesbian parents’ emotional eneacement with their children’s education:
                                      Intersections of class and sexuality. Sexualities. 201 1; 14:79—99. http://dx.doi.org/
 —,                                   10.1177/1363460710390564.
                                 Nowak-Fabrykowski K, Helinksi M. Buchstein F. Reflection of foster parents oii caring for foster and
                                      adopted children and their suggestions to teachers. Early Child Development and Care. 2009;
                                      179:879—887. http://dx.doi.org/ 10.1080/03004430701 536558.
                                 Park CC. Young children making sense of racial arid ethnic differences: A sociocultural approach.
                                     American Educational Research Journal. 2011; 48:387—420. http://dx.doi.org/
                                      10.3102/0002831210382889.
                                 Peyton V. Jacobs A, O’Brien M, Roy C. Reasons for choosing child care: Associations with family
                                     factors, quality, and satisfaction. Early Childhood Research Quarterly. 2001; 16:191 --208. htlp://
                                     dx.doi.org/l 0.101 6!50885-2006(0 1)00098-9.
                                 Powell D, Son SH, File N, San Juan R. Parent—school relationships and growth of children’s academic
                                     and social outcomes in public school pre-kindergarlen. Journal of School Psychology. 2010;
                                     48:269—292. http://dx.doi.org/l0.10l6/j.jsp.2010.03.002. [PubMed: 206098501
                                 Raudenbush, SW. Many small groups. In: de Leeuw, J.; Meijer, E., editors. Handbook of multilevel
0                                    analysis. New York, NY: Springer; 2008. p. 207-236.http:.”dx.doi.oig’
                                      10.1007/978-0-387-73186-55
                                 Raudenbush SW, Yang M, YosefM. Maximum likelihood for generalized linear models with nested
c                                    random effects via high-order, multivariate Laplace approximation. Journal of Computational and
                                     Graphical Statistics. 2000; 9:141-157. http://dx.doi.org/l0.2307/l3906l7.
                                 Rimm-Kaufman SE, Pianta RC. Family—school communication in preschool and kindergarten in the
                                    context of a relationship-enhancing intervention. Early Education & Development. 2005; 16:287--
                                     316. http://dx.doi.org/ll5566935eed16031.
                                 Robinson K, Ferfolja T. A reflection of’ resistance. Journal of Gay & Lesbian Social Services. 2002;
                                     14:55-64. http://dx.doi.org/I300/J04lvl4n0205.
                                 Sawyer J, Mishna F, Pepler D, Wiener J. The missing voice: Parents’ perspectives of bullying. Children
                                    & Youth Services Review. 2011; 33:1795—1803. http://dx.doi.org/ll6/j.childyouth.
                                    2011.05.010.
                                 Smith, JZ.; Sayer, AG.; Goldberg, AE. Multilevel modeling approaches to the study of LGBT parent
                                     families. In: Goldberg, AE.; Allen, KA., editors. LGBT-parent families: Innovations in research
                                     and implications for practice. New York, NY: Springer; 2013. p. 307323.hltp:!dx.doi.org’
                                      10.10071978-1-4614-4556-2 20
0)                                                                 -



D                                Smrekar, C.; Goldring. E. School choice in urban American: Magnet schools and the pursuit of equity.
                                     New York, NY: Teachers College Press; 1999.
                                 Trolley B, Magerkorth R, Fromme R. Preschool teachers’ perceptions of and responses to differences:
                                     Disability, family, and racial/cultural variation, Early Child Development & Care. 1999; 155:17—
                                     30. http://dx.doi.org/l 0.1080/0030443991550102.


                                    Early C’loidRes Q. Auihor manuscript; available in PMC 2016 April 22.
       Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 25 of 30




             Goldberg and Smith                                                                                                 Page 25

                                  Vaschenko M, D’Aleo M, Pmnderhughes E. Just beyond my fronl door:” Public discourse experiences
                                     of children adopted from China. American Journal of Community Psychology. 2012; 49:246—257.
                                     [PubMed: 21553096]
                                  Vonk ME, Lee JG, Crolley-Simic J. Cultural socialization practices and family well-being in domestic
                                     and international transracial adoption. Adoption Quarterly. 2010; 13:227—247. http://dx.doi.org/
                                      10. 1080’10926755.20 10.524875.
                                  Wells, A.; Cram. R. Stepping over the color line: African—American studenls in white suburban
 C?)                                 schools. New Haven, CT: Yale University Press: 1997.
 C-)
 -‘
-D




 C

 0
 -‘



2)
C
C?)
C-)
 -‘

-D




>
C
:3-
0
-‘



2)
D
C
C’,
C-)
-m
-D




>
C

0
-m

2)
:3
C
C))
C-)
-m
-D




                                    Early C’hildRes Q. Author manuscript; available in PMC 2016 April 22.
         Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 26 of 30




               Goldberg and Smith                                                                                                               Page 26




                                                                                 Table I
               Demographics for the full sample and by family type.
   C
                                           Family type
   0
   -S
                                           Full sample (Il, SD, or %)   Lesbian (I), SD, or %)   Gay (M, SD, or %)     Heterosexual (11, SD, or %)
   ci)          Family income              S148,827 (S99,753)           S121,268 (S64,795)       Sl93,572 (5132,641)   S138,377 (S85,483)
   C            Education                  4.49 (1.01)                  4.46 (1.04)              4.50 (1.01)           4.48 (.99)
   (I)
   C)           \‘ork hours                34.87 (17.70)                31.99 (16.72)            37.84 (15.81)         33.01 (19.32)
   -S

                Hours in school (Child)    26.12(2.39)                  25.07(12.48)             31.16(1 1.81)         23.82 (12.05)
                Child age                  3.47 (.99)                   3.37 (.98)               3.39 (.96)            3.56 (1.04)
                Parent race (White)        91%                          91%                      95%                   88%
                Child race (White)         35%                          25%                      48%                   33%
                Child gender (Boys)        52%                          49%                      58%                   53%




  0
  -.‘



  U)
  C
  C’)
  C)
  -5
 -D




  C
  r1


  0
  -S




 C
 (F)
 C)
 -S
-D




 >

 0
 -S



 U)
 D
 C
 (1)
 C)
 -S
-D
 ‘-I-

                                          Early C’hildRes Q. Author manuscript; available in PMC 2016 April 22.
       Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 27 of 30




                 Goldberg and Smith                                                                                Page 27




 >

 0


 2)
 D
 2)
 C•)
-D




                                  C’   C’   C    —     c’   Cl   en
                                  en   Cl   C’   —          —    Cl    Cl



C
:3-

                                  —    Cl   en   en    CS   —    C     ‘C
                           ‘‘     ‘C   Cl   CC         St   —    (‘I   ‘S
                            C
2)
:3
                           C
(_)       CN
-‘                         ‘-;‘   z         c    Z
           C)                          en
-g                         ‘‘
                                  CC
                                  en   Cl
                                            CC
                                            Cl
                                                 C’.
                                                 —
                                                       ‘C
                                                       Cl
                                                            C
                                                            —
                                                                 C
                                                                 (‘I
                                                                       —
                                                                       Cl




                C)
                CC         0



                Ca


>               C)
                           .-;
                                  en   en        en
                                                       ;‘
                                                       en   en   t     5’




I
2)              -
                                            :1
D
C
2)
C-)


                                            Early ChiidRes Q. Author manuscript: available in PMC 2016 April 22.
    duosnuj Joi.iin                                     TdiJosnuei.,J JOLfflV                                      TdiJ3snueLtJ JOLIIflV                            diJ3snueJ .loL4),ny

                                                                                                    Table 3
    Predicting consideration of school selection factors (full sample).                                                                                                                                           C)
                                                                                                                                                                                                                  0
                                                                                                                                                                                                                 C
                                                                                                                                                                                                                 0
     Predictors                                                                                                                                                                                                  (0
                          Cost fi(SE)    Odds ratio   Locatfi(SE)      Odds ratio   Educ Philfi       Odds ratio     Rclig/Langfi(SE)   Odds ratio      Racial      Odds ratio    Adopt Famfi      Odds ratio   (05
                                                                                       (SE)                                                          divers 5(SE)                    (SE)                        05
                                                                                                                                                                                                                 C
                                                                                                                                                                                                                 0
     Constant              —.60 (.8 1)      .54        .55 .04)           1.74       1.53 ( 1.25)        4.63                              .08                         .00                           .0003
                                                                                                                       —2.55 (I.45)                  —2.42 (1.021                —8.16 (2.04)
     Child race (of         .32 (.36)       .136       .38 (.45)           .47        .65 (.52)          1.01           —.53 (.62)         .58                         2.65         .08 (.62)         1.08
     color)                                                                                                                                           .07 (.45)

     Sexual or (hetero)     .03 (.34)       1.03       .04 (.41)          1.03        .03 (.51)          1.03           —.07 (.60)         .93                         .25                            .27
                                                                                                                                                     —1.37 (.43)                  —1.32 (.62)
     Family income        —.005 (.002)      .00       .003 (.002)         1.00      —.002 (.002)         .00           —.00 I (.003)       .99       —.002 (.002)      .98        —.002 (.002)        .00
     Education              .18 (.18)       I .10                  *                                                                                                                      (,39)5
                                                        43 (.21)          .65        —.04 (.27)          .06             .12 (.31)         1.12       .43 (.22)        1.52        1.32

      <.05.
>
     p<.Ol.

      p<.00l.

    p<.l0.




C




0


>
0


N




                                                                                                                                                                                                                 0
                                                                                                                                                                                                                (05
                                                                                                                                                                                                                 (0
                                                                                                                                                                                                                 [.3
                                                                                                                                                                                                                 00
                                                                                                                                                                                                                       Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 28 of 30
       Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 29 of 30




             Goldberg and Smith                                                                                          Page 29




                                                                                Table 4

             Predicting consideration of presence of lesbianlgay-parent families and school gay-friendliness (sexual
 >           minority parents only).
 C
 :5-
 0
 -5              Predictors              Presence of LG- parent families   Odds ratio   Gay-friendliness   Odds ratio
                                                     ,8(SE)                                 ,B(SE)

 :5              Constant                          5.82 (1.99)                .003           —1.39                 .25
 C
 C,,             Female                            —.57 (.66)                 .57           .30 (.55)             1.34
 C-)
 1
                 Child race (of color)              1.10 (.75)                3.02         —.11 (.51)              .90
                 Family income                    —.002 (.003)                1.00        —.004 (.003)            1.00
                 Education                         .82 (.37)                 2.28          .45 (.24)’             1.57


              p < .05.
             I
                 p <.10.

 C
 Z3
 0
 1



ci)
:5
C
(1;
CD
-5

-c




C
‘-4-
:3-
0
-5



LI)
:3
C
Cr)
CD
-5
-D




C

0
-5



ci)
:3
C
Cr)
C)
1
-D
                                          Early (7i,ldRe.c Q. Author manuscript available in PMC 2016 April 22.
        Case No. 1:23-cv-02079-JLK Document 77-18 filed 12/18/23 USDC Colorado pg 30 of 30




              Goldberg and Smith                                                                                                                       Page 30




                                                                                  Table 5

              Predicting perceived mistreatment related to adoption (full sample) and sexual orientation (sexual-minority
  >
  C
  v-I
              parents only).
  Zr
  0
  —I
                                                        Lue to adoption (estimate, SE)     Due to sexual orientation (estimate, SE)
                  Intercept
                                                                 1.72 (.20)                               1.21 (.35)
                    Same-sex                                          15 (.08)
 Cl)                                                              —




 CD
                    Male                                                                                     15.16
-D
  -t                White                                             .06 (.08)                           —.20 (.15)
                    Public                                            .02 (.09)                            .07 (.16)
                    Education                                      .007 (.04)                              .05 (.06)
                    Family income                                .001 (.01)4)                            —.003 (.007)

                    Perceived community homophobia
                                                                                                           IS ( 08)

 C            Note: Sexual Orientation was dummy coded (0, I). with heterosexual as the default group. Child race was dummy coded (0, 1), with of color as thc
              default group Follosv-up analyses utilized gender (0, 1), with female as the defhsilt group, when comparing just gay men and lesbians. Family
 0            income was mean centered. MLM was not used for logistic regression because MLM provides biased estimates when using link functions (such as
 -5
              a log link) in modeling dyadic data (Raudenbush, 2008).

 D             p <.05.
 C
 C/)
 CD               p <.0!.
 -5
              flu
-D
                   p <.00!.
              +
               p< .10.




 >
 C
 :3-
 0
 -I



 2)
 D
 C
 Cl)
 CD
 -5

-D




 >
 C
 -t
 Zr
0
-5



2)
:3
C
C,)
CD
-5

-D
 r-I

                                         Early ChidRes Q. Author manuscript available iii PMC 2016 April 22.
